              Case 4:21-cr-00429-YGR Document 137 Filed 02/03/23 Page 1 of 8



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 5 Attorneys for Defendant
   Ray J. Garcia
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 8                                IN THE UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                            CASE NO.: 4:21-CR-00429-YGR
12                                   Plaintiff,           ADDITIONAL EXHIBITS H AND I IN SUPPORT
                                                          OF RAY J. GARCIA’S MOTION FOR NEW TRIAL
13                           v.                           [F.R.Cr.P. 33; Criminal Local Rule 47-2]
14   RAY J. GARCIA,                                       Hearing: March 15, 2023
                                                          Time: 2:00 p.m.
15                                 Defendant.             Courtroom: 1, 4th Floor
                                                          Oakland Federal Courthouse
16                                                        1301 Clay Street, Oakland, CA 94612
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     TO THE HONORABLE COURT:
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            Defendant Ray Garcia, through his undersigned counsel and in accordance with Federal Rule of
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     Criminal Procedure 33 and Northern District Criminal Local Rule 47-2, hereby respectfully submits two
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     additional exhibits in further support of his motion filed yesterday.
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            The first additional exhibit is Exhibit H, the declaration of Yovanna Mangra. Ms. Mangra was
22
     unavailable to return her signed declaration yesterday, due to a family medical emergency. The second
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     additional exhibit is Exhibit I, the declaration of James Shank, which further supports Mr. Garcia's
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     claims of newly discovered evidence. Mr. Shank was traveling yesterday and did not have an
25
     opportunity to return his signed declaration until this afternoon, due to traveling.
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            Mr. Garcia respectfully requests that the Court consider these two additional exhibits. They
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     collectively corroborate the declaration of Dan Flint, which was submitted yesterday as Exhibit C to the
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     defendant’s new trial motion.

      MOTION FOR NEW TRIAL, ETC.                           1
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            Case 4:21-cr-00429-YGR Document 137 Filed 02/03/23 Page 2 of 8



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 3   Dated: February 3, 2023                     /s/ Kevin G. Little
                                                 Kevin G. Little
 4                                               Counsel for Defendant
 5                                               Ray J. Garcia

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     MOTION FOR NEW TRIAL, ETC.              2
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Case 4:21-cr-00429-YGR Document 137 Filed 02/03/23 Page 3 of 8




            EXHIBIT H
Case 4:21-cr-00429-YGR Document 137 Filed 02/03/23 Page 4 of 8
Case 4:21-cr-00429-YGR Document 137 Filed 02/03/23 Page 5 of 8
Case 4:21-cr-00429-YGR Document 137 Filed 02/03/23 Page 6 of 8




            EXHIBIT I
Case 4:21-cr-00429-YGR Document 137 Filed 02/03/23 Page 7 of 8
Case 4:21-cr-00429-YGR Document 137 Filed 02/03/23 Page 8 of 8
